Exhibit A
                                                The City of New York
                                              Department of Investigation
                                                 MARK G. PETERS
                                                  COMMISSIONER



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           DOI REPORT FINDS SIGNIFICANT BREAKDOWNS BY CORIZON HEALTH INC.
FAILURES IN EMPLOYEE SCREENING AND MENTAL HEALTH TREATMENT OF INMATES IN CITY JAILS
        Recent arrests of Corizon employees by DOI highlight problems with background checks
            Mental health staff with prior criminal convictions including Second Degree Murder
             Oversight by the City Departments of Correction and Health also found lacking


        Today, Department of Investigation (“DOI”) Commissioner Mark G. Peters issued a critical review of
Corizon Health Inc. (“Corizon”), a private company contracted by the City to provide medical and mental health
services in Rikers Island jails. The Report highlighted acute failures in Corizon’s hiring processes and treatment
of mentally ill inmates. The investigation also revealed the City’s Department of Correction (“DOC”) and
Department of Health and Mental Hygiene (“DOHMH”), both responsible for supervising Corizon, failed to properly
oversee the company’s hiring and supervision of clinical staff. DOI’s Report follows this release and can also be
found at: http://www.nyc.gov/html/doi/html/doireports/public.shtml
        DOI Commissioner Mark G. Peters said, “DOI’s investigation found that Corizon did not provide adequate
screening or supervision of its employees, and the City did not properly oversee this taxpayer-funded vendor,
ignoring multiple red flags. DOI’s arrests of Corizon employees on contraband smuggling charges is an example
of one of the disturbing results of these careless practices. Going forward, stringent reforms must be established
and DOC has already begun to implement critical changes.”

         DOI began its investigation after arresting a Corizon nurse in September 2014 and charging him with
taking bribes to smuggle in tobacco and alcohol. Over the last six months, DOI investigators reviewed thousands
of pages of documents and conducted surveillance of and site visits to 28 of 30 housing areas reserved for inmates
needing mental health treatment. DOI found Corizon failed to provide adequate care to inmates, including
improperly removing inmates from court-ordered suicide watch, failing to supervise inmates with serious mental
illnesses, and poorly supervising inmates while they took medications, including psychiatric prescriptions. DOI’s
Report found that two of these inmates died. One of those instances is now under criminal review by DOI and the
Bronx District Attorney’s Office.

         This Report is the latest outcome of DOI’s ongoing investigation of criminal activity and violence at Rikers
Island. Since the beginning of this investigation, DOI has arrested more than one dozen correction officers and
supervisors, and other workers at the City’s jails, on an array of criminal charges, including contraband smuggling
and assault; and more than three dozen inmates for a variety of illegal conduct in the jails. DOI’s investigation has
highlighted deficient hiring practices of correction officers; poor controls and oversight of use of force by correction


                                                         more
officers; and a lack of controls and screening for contraband. Those reports can also be found at
http://www.nyc.gov/html/doi/html/doireports/public.shtml

         As part of its investigation into Corizon, DOI reviewed 185 Corizon Mental Health Clinician (“MHC”) and
Mental Health Treatment Aide (“MHTA”) personnel files and found Corizon failed to engage in rudimentary
screening processes and supervision of staff, missing serious red flags in employees’ backgrounds and resulting
in the hiring of unqualified and unfit candidates. Specifically in its review, DOI found:

       Corizon failed to conduct adequate background checks on employees resulting in employment
        of eight mental health staff with prior criminal convictions including Second Degree Murder and
        drug possession.

       Corizon knowingly hired candidates that did fully disclose prior misdemeanor and felony
        convictions, including one candidate who disclosed 13 prior convictions for crimes including
        petit larceny, criminal possession of a controlled substance and attempted burglary.

       In 89 of the 185 files reviewed, there was no evidence that Corizon conducted a candidate
        background investigation of any kind.

       In 58 of the 137 MHC files reviewed, there was no evidence that Corizon verified candidates’
        professional licenses prior to employment or monitored the licensing of employees after they
        began work.

       Only 8 of 134 employees who have worked at Corizon for over one year had performance
        reviews in their files covering each year of their service.



         DOI investigators found Corizon did not ask candidates whether they had ever been disciplined at work
or terminated from a previous job, factors that could indicate whether a potential candidate has difficulty with
authority or exhibits poor judgement.

          The review also exposed a lack of oversight and accountability by DOC and DOHMH. The review
further exposed that the three entities who share responsibility for the administration of this care do not
effectively communicate, which has prevented solutions. In the most concerning example, DOC stated it had no
ability to conduct background checks of staff hired by Corizon. In fact, DOC did have both the authority and
responsibility to conduct fingerprint checks of employees. However, during the course of the investigation, DOI
found a DOC Deputy Commissioner allowed a total of 658 fingerprint cards from employees hired between 2011
and 2014 to pile up on a shelf outside his office – never having been sent for screening.

        Even after DOI notified DOC of this breach in October 2014, fingerprinting was slowly and improperly
handled. In May 2015, DOC had just begun properly submitting the 1,100 Corizon employee fingerprints for
screening.

         In addition, DOI found that while DOHMH has oversight of Corizon’s performance, by admission of its
own officials, it exercised virtually no oversight of Corizon’s hiring of clinical staff, instead leaving Corizon’s
hiring unsupervised. As a result, yearly staff evaluations of mental health personnel appeared irregular at best.

        In light of these findings, DOI has significant concerns about Corizon continuing as the health care
provider for the City’s jails and recommends a series of reforms regarding the provision of health and mental
health services at DOC facilities, including among others:

       Strict professional and character standards must be established when assessing applicants and
        follow-up background investigations must be conducted into disclosures that call an applicant’s
        judgement and character into question. DOI recommends the provider use a standard list of
        disqualifying criteria.

                                                          2
           Make clinical staff screenings uniform, thorough and tailored to the unique corruption
            vulnerabilities at DOC. The health care provider must also document its personnel decisions
            clearly.

           DOHMH, DOC and the health care provider should form a joint hiring committee with officials from
            each agency to discuss and review hiring decisions. Hiring decisions must be documented.

           DOC must immediately fingerprint all health care employees and submit those fingerprints for
            analysis as part of background investigations.

           Any future health care provider must require candidates to disclose all prior convictions and
            arrests with detailed descriptions regarding the circumstances and whether they have been
            previously disciplined or terminated from a job.

           Conduct routine compliant checks of medical licenses to confirm that employees are properly
            licensed and are in good standing with the New York State Education Department.

          Commissioner Mark G. Peters thanked DOC Commissioner Joseph Ponte and DOHMH Commissioner,
  Dr. Mary Bassett, and their staffs, for their assistance and cooperation in this investigation, including from
  DOHMH, General Counsel Tom Merrill and Agency Counsel Patrick Alberts; and from DOC, Captain Nathaniel
  Bialek and Deputy Commissioner Michael Blake.

          This investigation was conducted by DOI’s Office of the Inspector General for DOC, specifically
  Assistant Inspector General Kate Zdrojeski and First Deputy Inspector General Chin Ho Cheng. In addition,
  assistance on this investigation was provided by the following DOI staff: Counsel to the DOC Inspector General
  Adam Libove, Investigator Rich Askin, Correction Officer Investigator Larry Bond, Investigator Margaret Reviera,
  Investigator Mike Garcia, Correction Officer Investigator Jerome Corrica, and Inspector General Clint Daggen.
  The investigation was supervised by Senior Inspector General Jennifer Sculco, Associate Commissioner Paul
  Cronin, and Deputy Commissioner and Chief of Investigations Michael Carroll.

            Criminal complaints and indictments are accusations. Defendants are presumed innocent until proven
  guilty.




DOI is one of the oldest law-enforcement agencies in the country and New York City’s corruption watchdog. Investigations may involve any agency,
  officer, elected official or employee of the City, as well as those who do business with or receive benefits from the City. DOI’s strategy attacks
 corruption comprehensively through systemic investigations that lead to high-impact arrests, preventive internal controls and operational reforms
                                                           that improve the way the City runs.



                                     DOI’s press releases can also be found at twitter.com/doinews
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                                                                        3
             New York City Department of Investigation

Investigation Finds Significant Breakdowns by Corizon Health Inc., the
City-Contracted Health Care Provider in the City's Jails, and a Lack of
       Oversight by the City Correction and Health Departments




                             MARK G. PETERS
                             COMMISSIONER


                                June 2015
                                         Executive Summary
        In September 2014, the Department of Investigation (DOI) arrested a nurse working at
Rikers Island, after he took bribes to smuggle tobacco and alcohol into a facility. The nurse, like
virtually all health care providers at Rikers Island, was not employed by the Department of
Correction (DOC), but by Corizon Health Inc. (Corizon), a private company that provides
medical and mental health services to Rikers Island and many other correctional institutions
across the country. In early May 2015, DOI arrested a second Corizon staffer, again for
smuggling contraband into Rikers Island. One week later, DOI arrested a third Corizon
employee for smuggling a straight edge razor into a Rikers Island facility. Upon arresting this
third employee, DOI learned that he had multiple prior felony convictions and served 13 years
for kidnapping.
        Beyond these and other criminal acts detailed below, DOI surveillance and document
review over the past six months revealed that a number of Corizon employees have failed to
properly provide the medical and mental health services for which the City contracted. For
example, DOI observed staff dispensing medication, including psychiatric medication, without
engaging in basic precautions to make sure that inmates actually swallowed the pills they were
prescribed. 1 Further, on several occasions, Corizon staff improperly removed inmates from
suicide watch or otherwise failed to supervise inmates with serious mental illnesses. Two of
those inmates died while unsupervised. One of those instances is now under criminal review by
the Bronx County District Attorney and DOI.
        These failures should not be seen in isolation. Rather, they have occurred in the context
of the failure to engage in proper screening and supervision of staff. Given the huge number of
factors that contribute to the delivery of medical and mental health care for inmates, it is
difficult, if not impossible, to conclusively demonstrate a direct causal link between poor hiring
and quality of care. Nonetheless, DOI reviewed 137 Corizon Mental Health Clinician (MHC)
and 48 Mental Health Treatment Aide (MHTA) personnel files and found that:
       Corizon failed to do adequate background checks on employees, resulting in employment
        of eight mental health staff with prior criminal convictions including Second Degree
        Murder and drug possession. Even where Corizon did have evidence of criminal
        activity—including possession of a controlled substance, burglary, and forgery—Corizon
        nonetheless hired these individuals.


       In 89 of the total 185 files reviewed, there was no evidence that Corizon conducted a
        candidate background investigation of any kind.




1
  DOI is not qualified to offer medical opinions and, for that reason, does not opine on medical issues in
this Report. Rather, DOI’s investigation focused on whether basic safety steps were being taken, and
agreed upon rules were being followed, by the Corizon staff who provide inmate care. By way of
example, DOI did not consider whether DOHMH and Corizon prescribe appropriate medications; rather,
DOI’s findings in this regard were confined to the fact that Corizon and DOHMH failed to take
precautions to make sure inmates actually took whatever medications were prescribed.

                                                     1
       In 58 of the 137 MHC files reviewed, there was no evidence that Corizon verified the
        candidates’ professional licenses prior to employment. Further, Corizon failed to monitor
        the licensing of employees after they began work.


       Corizon’s failures continued even after employment. Only 8 of 134 employees who have
        worked at Corizon for over one year had performance reviews in their files covering each
        year of their service at Corizon.2


       The Department of Health and Mental Hygiene (DOHMH), along with DOC, have
responsibility for supervising Corizon, to ensure, among other things, that hired employees have
been properly vetted. They failed to do so.
        In perhaps the most concerning example of this failed supervision, at the outset of this
investigation, certain DOC staff informed DOI that DOC had no ability to conduct background
checks of the staff that Corizon sent to Rikers Island. In fact, however, DOC did have both the
authority and the obligation to conduct fingerprint checks of such employees. As a result,
Corizon sent fingerprint cards to DOC on a regular basis; but, rather than forwarding the cards to
the State to run checks, a DOC Deputy Commissioner allowed the cards to pile up on a shelf
outside his office. The cards were discovered, unprocessed, by DOI in the course of its
investigation.
      Indeed, DOC only began processing fingerprints for Corizon employees in May 2015, six
months after DOI informed DOC—including Commissioner Ponte—of this basic failure.3
        DOHMH similarly failed to adequately supervise Corizon.4 For example, DOHMH did
not review staff files to see if Corizon was properly supervising and reviewing employee
performance. As noted above, such evaluations rarely took place. Additionally, DOHMH never
followed up to make sure the fingerprints submitted to DOC by Corizon were actually processed.


2
  DOI spoke with several Corizon officials during the course of this investigation, including calls or
meetings on October 28, 2014; February 18, 2015; May 11, 2015; and June 4, 2015.
3
  Since DOI’s review of the screening process for Corizon employees, DOC has already made some
improvements to its processes and has agreed to the recommendations in this Report. Notably, DOC has
run name-based criminal background checks on all Corizon staff to prioritize fingerprinting efforts, and
begun conducting electronic fingerprinting of Corizon staff and submitting fingerprints to DCJS. DOC is
informing Corizon of the results of each employee’s criminal history. Moreover, going forward, DOC
will perform phone checks and visitation history checks for prospective employees, and perform periodic
checks after the employees begin working in DOC facilities. DOC also will work with DOHMH and the
healthcare provider to establish 1) clear criteria and thresholds for denying access to the facilities for
provider staff; 2) training requirements for provider staff working in DOC facilities; and 3) rolling
refresher training and performance/collaboration checks.
4
  DOI spoke with numerous DOHMH officials during the course of this investigation, specifically, in
meetings (on June 25, 2014, June 30, 2014, and October 28, 2014), via conference call (on July 18, 2014
and December 5, 2014), and through countless emails and informal phone communication. DOI also
received extensive written feedback from DOHMH on an earlier draft of this Report, and has addressed
that feedback, below, as appropriate.

                                                    2
       As with DOI’s earlier reports on contraband smuggling and Correction Officer (CO)
screening, the various illegal activities discussed above, most notably the September 2014 arrest,
demonstrated the need for a more comprehensive investigation of Corizon’s activities. This
Report sets out the findings of that investigation.
        During the course of its investigation, DOI spoke with senior staff from Corizon, DOC
and DOHMH regarding the failures documented herein. At various points, each entity blamed
the other two for the failings identified by DOI, and each entity claimed that the responsibility
for preventing those failings belonged to the other two. This lack of communication has, itself,
been a significant impediment to solving the problems uncovered in this investigation.
       Corizon’s contract with the City is set to either expire or be renewed by the end of this
year. In light of DOI’s findings, we have significant concerns about permitting Corizon to
continue, on a long term basis, to provide health care services at Rikers Island.
        Further, given the ineffective communication between Corizon, DOHMH and DOC,
DOI has concerns about the current model where three entities share responsibility for the health
care of inmates in the City’s jails. (In this regard, we note that of the 58 prison systems presently
served by Corizon, only three involve a contractual intermediary third-party Health Department.)
If the City determines that DOHMH should continue to be involved in prison healthcare – a
policy decision beyond DOI’s purview – then explicit written lines of authority and
responsibility must be adopted.




                                                 3
I.     The Duties of Corizon MHCs and MHTAs Give Them Unfettered Access to Inmate
       Housing Areas and Allow Them to Develop Intimate Relationships with Their
       Inmate-Patients. This Level of Inmate Access Should Subject MHCs and MHTAs
       to Greater Pre-Employment Scrutiny.

        Corizon mental health staff, particularly the MHCs and MHTAs discussed in this report,
spend most of their time interacting with inmates in need of mental health treatment either during
therapy sessions or through casual interaction. The daily frequency, duration, and quality of
inmate contact encountered by MHCs and MHTAs working in specialized housing areas like the
Clinical Alternative to Punitive Segregation (CAPS) Program for Accelerating Clinical
Effectiveness (PACE) units, for example, far surpasses that of many of their CO counterparts.5
In view of their significant daily inmate contact, MHCs and MHTAs are at least as vulnerable to
corruption and inmate manipulation as COs. Yet MHCs and MHTAs are subject to a much less
extensive pre-employment screening process than COs. The duties of these staff—and the
concomitant corruption risks they face–are described below.
       A.      Mental Health Clinicians
         According to Corizon’s MHC job posting, MHCs are generally responsible for
“providing assessment and counseling services to inmates.” Additional responsibilities include
crisis intervention, determining and coordinating disposition of patients for appropriate level of
mental health care, developing and leading group treatment, participating in case conferences
and treatment planning for inmates, and collaborating with DOC to ensure access to patients,
proper housing and treatment disposition, among other things. MHCs must have a Master’s
degree in Social Work, Psychology or a related field, and a New York State license or limited
permit to practice in Social Work, Mental Health Counseling, or Psychology.
         MHCs spend the majority of their time interacting with inmate-patients in individual and
group treatment sessions in various housing areas across different facilities and are not
supervised or overseen by uniformed DOC staff.6 Individual sessions typically can be as short as
three minutes or as long as 30 minutes. During these sessions, which may occur in the facility
clinic, a housing area office space, or outside an inmate’s cell, the inmate-patients discuss a
range of personal topics. Following each session, MHCs must document in the inmate-patient’s
medical record the information discussed and the counsel provided. MHCs can counsel as many
as 12-15 inmates a day.
        Inmates receiving ongoing mental health care may be seen by MHCs daily, weekly,
monthly or on a referral basis, depending on an inmate’s specific needs. Some DOC housing
areas, such as the Restricted Housing Units (RHUs) and the Clinical Alternative to Punitive
Segregation (CAPS), have MHCs assigned to those units full time. Those MHCs, therefore,

5
  The CAPS units are clinically-driven housing areas reserved for inmates who are infracted by DOC and
are designated as seriously mentally ill by mental health services. CAPS units include enhanced
programming and therapy, as well as additional mental health staff. The PACE units extend the CAPS
model of enhanced therapeutic programming to mentally ill inmates who are not infracted by DOC.
6
  DOC staff are not medical or health care professionals and do not oversee or supervise any Corizon
staff. Rather, DOC staff work with Corizon staff to ensure that security and movement procedures are
followed.

                                                  4
interact with the same inmates every day. In those housing areas, the one-on-one sessions
generally occur in a secluded part of a common area, away from other inmates or DOC staff, or
within a windowed office space separated by a door that is closed during the sessions, away from
uniformed DOC staff.7
        B.      Mental Health Treatment Aides
         MHTAs, who work exclusively within specialized inmate housing areas such as CAPS,
spend the vast majority of their days interacting with the roughly 15 inmates assigned to their
particular housing areas. According to Corizon’s listed job function, MHTAs, who often have
less stringent educational and professional requirements and need no professional license,8
“perform crisis and/or de-escalation interventions, therapeutic observations, conduct groups,
conduct patient supervision and other behavioral health related duties.”
       MHTAs, like MHCs, are tasked primarily with engaging and socializing with their
inmate-patients. Specifically, MHTAs regularly check on a listed group of inmates to determine
whether any have concerns that require immediate attention. MHTAs also participate in daily
meetings with their assigned group of inmate-patients and have one-on-one meetings with
inmates in their assigned housing area or facilitate various inmate group activities such as art
therapy or role playing sessions. Afterwards, MHTAs normally hold a group meeting with the
inmates before concluding their duties for the day. MHTAs can interact with an inmate in their
assigned housing area approximately every 15 minutes.
        In sum, MHCs and MHTAs have regular, largely unrestricted, and often lengthy
individual and group inmate contact. Prior DOI investigations into allegations of bribery,
contraband smuggling, and inappropriate inmate-staff relationships demonstrate that MHCs and
MHTAs possess ample opportunities to engage in misconduct with their inmate-patients. As
such, MHCs and MHTAs—along with other clinical staff who have regular and extensive inmate
contact—should be subject to an extensive pre-employment background investigation in order to
eliminate candidates whose profiles signal potential security risks. However, as discussed
below, the employee personnel files reviewed by DOI suggest that Corizon has done little to
ensure that quality candidates fill its MHC and MHTA positions. DOC and DOHMH,
furthermore, have done little to assist Corizon in the screening of its MHC and MHTA
applicants. Worse, each of these entities assign responsibility to do this screening to the other
two and, due to the inability of each to communicate with the other two, effective screening has
not been done. As a result, the entities have left themselves vulnerable to the potential security
risks and liability presented by unfit clinical employees.



7
  DOI understands the importance of protecting patient confidentiality in the context of mental health
treatment sessions and, therefore, does not suggest that one-on-one sessions are improper or negative.
Nonetheless, such sessions do create security risks and could provide an opportunity for inmates to
manipulate any mental health staff with poor judgment or moral character, thus heightening the need for
proper screening of such staff.
8
  Corizon does require its MHTAs, however, to have a bachelor’s degree or associate’s degree in criminal
justice, social services, or a health-related area and between one and two years of clinical experience with
the mentally ill or developmentally delayed.

                                                     5
II.     Overview of Corizon’s Hiring Process for MHCs and MHTAs
        MHC, MHTA, and other related health care vacancies are initially posted on Corizon’s
Intranet and then externally on job websites such as Career Builder. Prospective applicants must
submit their resume and complete an employment application, of which DOI has seen at least
three variations.9 Generally, the application begins by asking the candidate to provide a variety
of personal information such as name, address, social security number, and personal telephone
numbers. The “personal data” section concludes by asking for the name of the position sought
(e.g., MHC, MHTA, etc.), the date the candidate is available to start, and the salary expected.
Applicants are not required to disclose the names, addresses, dates of birth or other personal
information of their family members.
        The next section of the application queries an applicant’s professional and technical
licenses, requesting a list of any licenses or certificates received (if applicable for the position
sought), license registration information, license number, state of registration, and license
expiration date. Applicants were further asked to note whether any license had ever been
suspended, revoked, or limited in any way. In one application variation, candidates were required
to disclose whether any licenses were currently under investigation. Candidates were further
asked to list other qualifications or special skills and languages spoken other than English.
       Next, an educational history section asks candidates to list the schools, beginning with
high school or the equivalent, attended, including the location of any school, degree obtained
and/or major studied, and the date of graduation if achieved.
        Candidates are next required to supply their prior employment history. In addition to
prior workplace/company names, titles, and dates employed, candidates must provide the prior
company’s address and telephone number, his or her duties and responsibilities, supervisor’s
name, starting and ending salary, and reason for leaving. The candidate is also asked to indicate
whether Corizon may contact the company. A number of applicants whose personnel files DOI
investigators reviewed included resumes in lieu of completing the prior employment section of
the application.
         After candidates are asked to provide three professional references, they are required to
disclose prior criminal convictions. DOI investigators observed three different ways in which
candidates were asked to disclose their criminal history. One application variant asks the
candidate to state, by checking “Yes” or “No,” whether he or she has been convicted of a felony
in the last seven years. Another version of the application asks the candidate to state whether he
or she has ever been convicted of a felony. In a third version of the application, the candidate is
required to state, by checking “Yes” or “No,” whether he or she has been convicted of a crime by
any court, including military court; this third variant further asks candidates to indicate whether
they have relatives, business associates, or friends incarcerated in a correctional institution, on
parole, or in the custody of any DOC or county detention facility. All applications include a
blank space below the criminal history question and ask the applicant to explain the details of an
affirmative response.

9
 DOI’s review of the 185 MHC and MHTA files revealed that over the last approximately 14 years, at
different points, Corizon used three different employment applications, which were largely similar except
for changes to the question regarding the applicant’s prior criminal conviction history, discussed in
greater detail below.

                                                    6
        After reviewing the resumes and completed applications, a Corizon Hiring Manager
contacts a select number for an initial panel interview, which consists of staff responsible for
supervising the prospective employee. Each interview is documented using an Interview Sheet,
a single-sided form on which the interviewer notes: 1) the position the candidate is applying for;
2) the candidate’s name and date of interview; 3) whether the candidate has previously worked
for Corizon; 4) how the candidate learned of Corizon; and 5) whether the interviewer is
interested in offering the candidate a position. The interviewer completes the form by signing
his or her name. The interviewer is not required to complete any written evaluation documents
that form the bases of his or her opinion to hire a candidate. In fact, the one-page Interview
Sheet does not even contain a section for the interviewer to write interview notes.
         Candidates who are successful in the first interview are then asked to come back for a
second interview, which can include meeting their prospective colleagues and a visit to the DOC
facility where the candidate will be assigned. Thereafter, the Medical or Mental Health
Department head, along with a Corizon human resources official, extends an employment offer
to the selected candidate pending a background investigation and medical clearance.
       After candidates receive a conditional offer from Corizon, they are fingerprinted at
Corizon’s offices. The fingerprints are then forwarded to DOC for processing as part of a
criminal background check.10 Corizon officials must also verify, when applicable, the
candidate’s professional licenses. Although a license is not a prerequisite for employment as an
MHTA, Corizon requires all MHCs to have a license in social work, mental health counseling, or
psychology.
        In October 2014, Corizon began using a background check agency, HireRight, to verify
three areas of a prospective employee’s background, which include 1) verification of
professional licenses; 2) an education report, verifying degrees, certificates and diplomas earned;
and 3) a criminal history report, which includes a search for felony and misdemeanor convictions
occurring only within the applicant’s county of current residence.11 None of the MHC or MHTA
files DOI investigators reviewed contained any sort of checklist detailing the records or
verifications that must be included in a personnel file.12




10
   As discussed in Section IV(A) below at page 19, DOC has not been processing these fingerprints since,
at least 2011.
11
 In theory, hired candidates undergo a full criminal background check by submitting their fingerprints to
DOC for processing. The fingerprinting process will be discussed in depth in section IV below.
12
  Only beginning in April 2015 did Corizon hiring officials begin using a “New Hire Checklist” to ensure
that all requisite documents are included in a new employee’s personnel file. The New Hire Checklist
includes 22 items, such as tax forms, a medical clearance form, copies of diplomas and degrees, and a
variety of other HR documents. Among the forms listed on the New Hire checklist are several that are
intended to verify parts of an employee’s background: a fingerprint authorization form and fingerprint
report, a background check authorization form, and a professional license check. According to Corizon
hiring officials, prior to April 2015, it was simply assumed that all the documents specifically mentioned
on the New Hire checklist were being included in the employee personnel file.

                                                    7
III.       DOI’s Review of 185 Corizon personnel files of its MHCs and MHTAs Revealed a
           Flawed Employment Process That Resulted in the Hiring of Unfit Candidates.
        DOI’s review of 185 MHC and MHTA personnel files reveals that Corizon has 1)
consistently failed to require candidates to disclose sufficient personal history information that
would be indicative of their judgment and character, and routinely failed to conduct adequate
background investigations of its candidates; 2) knowingly hired candidates who have disclosed
past misdeeds indicative of poor integrity and character, or related corruption risks; 3) does not
consistently verify candidate references or even the necessary professional licenses of its mental
health applicants; and 4) failed to document its hiring process.
           A.       Corizon Failed to Adequately Screen Candidates, Resulting in the Hiring of
                    Employees with Judgment and Character Concerns.

       The 185 personnel files DOI investigators reviewed showed that MHC and MHTA
applicants were only required to disclose limited personal information indicative of judgment
and character. First, Corizon’s employment application contained three variations of a question
requesting candidates to disclose prior criminal convictions; one variation of the application,
apparently seldom used, also requested candidates to disclose whether they presently had any
inmate contacts in any correctional facility. The other application forms did not, despite the
obvious risks posed by such contacts. The three variations were as follows:
                   In 125 personnel files, candidates were only asked: “Have you been convicted of
                    a felony in the last 7 years?”
                   In six personnel files, candidates were asked, “Have you ever been convicted of a
                    felony?”
                   Only 44 of the applications asked candidates, “Have you ever been convicted by a
                    court of law, or a military court martial, of a crime?”13
         The limited scope of these questions poses a serious problem in adequately screening the
background of these candidates. Merely asking candidates if they had been previously convicted
of a felony or previously convicted of a felony within the last seven years limits an employer’s
inquiry into a candidate’s integrity and character as it assumes that only felony convictions (or
felony convictions within the last seven years14) are of any value in judging a candidate’s fitness.
It also fails to cover a candidate’s prior misdemeanor convictions, which might encompass
crimes of moral turpitude, such as petit larceny, forgery, or falsification of records, and indicate a
candidate’s propensity for dishonesty or disregard for the law.
       These screening questions also fail to address felony or misdemeanor arrests whose
underlying facts might demonstrate that a candidate exercises poor judgment or has criminal
associations. Additionally, nowhere in the files DOI investigators reviewed were candidates
asked whether they had ever been disciplined at work or terminated or asked to resign from a


13
  The remaining 10 files were missing an application altogether, making it impossible to determine which
prior conviction question was asked of the applicant.
14
     It is unclear why a seven-year cutoff is of any greater value than, say, five years or ten years.

                                                         8
previous job, the underlying facts of which might indicate that the candidate has difficulty with
authority, poor judgment or poor work habits.
         DOI investigators further discovered that approximately 89 of the MHC and MHTA
personnel files DOI investigators reviewed contain no evidence that either Corizon or DOC ever
conducted a candidate background investigation of any kind. Specifically, these files not only
failed to contain an investigative report, they did not even have documented confirmation that
such a report was ever generated. Only nine personnel files DOI reviewed—all belonging to
staff hired in or after October 2014—contained a HireRight report confirmation demonstrating
that the candidate had been subject to some form of background investigation.
        The HireRight investigation, however, is inadequate for screening candidates assigned to
work in a correctional setting, as it only verifies a candidate’s educational history and
professional license and prior criminal convictions occurring within his or her county of
residence. This HireRight investigation falls short of gathering information on prior statewide or
federal convictions. Significantly, also, this limited background investigation fails to conduct a
candidate credit history check. In fact, not one of the files DOI investigators reviewed contained
a credit history report, which would assist hiring officials in discovering, for example, whether
the severity of a candidate’s debt might make him or her susceptible to accepting inmate bribes.15
        Additionally, approximately 42 of the files contained no evidence that the Corizon
employees had been fingerprinted for a criminal background investigation. As this report
discusses in further detail below, DOI’s findings indicate that neither Corizon nor DOC has
subjected a single Corizon employee to a fingerprint-based criminal background check since at
least 2011.16 Instead, the system has functionally relied on its candidates to truthfully self-report
prior criminal convictions with the limited queries discussed above.
        As a result of these lax screening protocols, eight of the 185 MHCs and MHTAs whose
files DOI reviewed had been convicted of a crime prior to their application for employment with
Corizon. Most notably, one MHC had been convicted of Murder in the Second Degree in
connection with an attempted robbery that resulted in the stabbing death of the victim. Because
this MHC’s murder conviction occurred over seven years prior to his application for employment
with Corizon, he was not required to disclose the conviction in his application, which only asked
if he had been convicted of a felony in the previous seven years. Another MHC, also asked if he
had been convicted of a felony in the previous seven years, had been convicted five times of
crimes ranging from misdemeanor petit larceny and drug possession to felony possession of a
forged instrument and stolen property. Because the felony convictions occurred over seven years
prior to his application for employment, he did not disclose them.

15
   As discussed in Section IV(C) below, Corizon did not have access to the databases DOC uses for
security screening and was relying on DOC to perform background investigations. However, DOI
uncovered little evidence showing that Corizon, DOHMH or DOC communicated with each other about
criminal background checks for new employees, or the results thereof, further demonstrating the inability
of the three entities to work cooperatively—even regarding an issue, security, that they all agree is
important.
16
   A DOC official informed DOI via email that the agency is “somewhat at a loss for a full and complete
explanation” as to what happened to the fingerprints sent by Corizon between 2008 and 2011. The DOC
official further stated that he believes “only the first batch of prints were ever processed—meaning, the
first set to come in following the signing of the MOU [in 2008].”

                                                    9
       Another MHC was convicted three times of operating a motor vehicle while intoxicated
and twice convicted of driving with a suspended license, all misdemeanor offenses, prior to his
application for employment with Corizon. Again, because this MHC was only asked if he had
been convicted of a felony within the last seven years, he was not required to disclose these
convictions, the repetitiveness of which strongly suggest that the MHC consistently disregarded
the law and the well-being of other drivers whom he placed at risk with his behavior.
        B.      Corizon Knowingly Hired Applicants with Evidence of Poor Judgment and
                Character.
        Even when candidates did fully disclose prior misdemeanor and felony convictions,
however, Corizon officials still hired those individuals. For instance, one MHTA disclosed 13
prior convictions, including multiple convictions for petit larceny, criminal possession of a
controlled substance and attempted burglary, as well as conviction for possession of a forged
instrument.17 Another MHTA reported a prior misdemeanor conviction for attempted assault,
while a third candidate reported a misdemeanor conviction for criminal possession of a forged
instrument. Corizon officials nevertheless hired these individuals without even requiring them to
give any documented explanation regarding the circumstances surrounding their arrest and
conviction. The personnel files of the MHCs and MHTAs with these convictions were devoid of
any evidence that Corizon officials investigated these convictions.
        Corizon also hired candidates even when they made other troubling disclosures that were
probative of poor judgment and integrity. One MHC, for instance, revealed that he had had his
New York State law license suspended for 30 months for, as the MHC noted in his application,
“failure to maintain records for one client.” DOI’s review of the MHC’s file revealed no
evidence that Corizon officials further investigated this alarming disclosure which, according to
DOI’s investigation, appears to have been severely understated by the MHC.
        Even a cursory investigation conducted on the New York State Office of Court
Administration would have revealed that an appellate court suspended the MHC’s license after
he failed to generate or maintain the necessary records for multiple clients in his client trust
account (known commonly as an Interest On Lawyer’s Account or “IOLA” account) for
approximately three years, in violation of various attorney ethics codes. The appellate court
presiding over the matter further found that the MHC had “misappropriated” over $1,000 in
client funds “for a use other than that which they were intended,” which would constitute grand
larceny, 18 and “engaged in conduct prejudicial to the administration of justice by failing to
timely or completely cooperate” with the investigation into these allegations.
       DOI’s investigation into this MHC further reveals that the Suffolk County District
Attorney’s Office arrested and charged him with Grand Larceny in the Second Degree in April
2014 in connection with an alleged mortgage fraud scheme perpetrated against a partially blind




17
   Subsequently, DOI investigators discovered documents in this MHTA’s personnel file indicating that
the MHTA had been formally disciplined twice for sleeping on duty and once for lateness.
18
   The putative grand larceny occurred in or before 2008. At the time of DOI’s investigation, the statute of
limitations on this crime had already expired, making prosecution of the crime impossible.

                                                    10
60 year-old client over a four-year period. These allegations raise concerns of this MHC
similarly manipulating a vulnerable inmate-patient under his care.19
       C.      Corizon Failed to Consistently Verify Candidates’ References, Prior
               Employment History, and Professional Licenses.
        DOI’s review of the personnel files also revealed that Corizon officials failed to
consistently verify candidate references, employment history, and, when required by the
position, professional licensing information. Of the 185 files DOI investigators reviewed,
approximately 107 contained no documented evidence that Corizon hiring officials ever
performed any kind of employment verification or reference check.
         In fact, in one MHC file, the candidate listed only the names of the references without
listing their contact information. While the MHC noted that she would provide a complete list of
references at a later date, the file contains no evidence that she ever provided such a list or that
Corizon officials ever contacted her references. Approximately 23 personnel files did not even
contain any mention of the candidate’s references.
       The failure to require or even verify basic candidate information such as references, prior
employment, and professional licensure is, at best, emblematic of Corizon’s sloppiness in
screening its candidates. At worst, it demonstrates Corizon’s indifference toward the quality of
the employees it hires to work within DOC’s jails, and, as discussed below, the quality of care
these employees deliver to DOC inmates.
        Corizon similarly failed to document confirmation of professional licenses.20 Of the 137
MHC files DOI investigators reviewed, approximately 58 did not contain any evidence that
Corizon officials verified the candidates’ professional licenses. According to Corizon officials,
although the professional licenses of medical professionals are checked daily, until recently there
was no existing process whereby the professional licenses of MHCs, as well as other mental
health professionals whose duties require licensure with the New York State Education
Department (NYSED),21 were checked for good standing with the same kind of vigilance.
Corizon’s failure to regularly verify the professional licenses of its mental health staff has
potentially severe legal consequences as the unlicensed practice of a profession is a felony under

19
  Indeed, this same MHC was recently reprimanded for failing to properly address an inmate suicide
referral. Specifically, the Corrective Action Memorandum found in the MHC’s personnel file notes that
the MHC “closed out” the inmate suicide referral as “[a]ddressed” and noted that the patient “was
rescheduled.” The memorandum notes, to the contrary, that the patient was in fact ‘never… “seen,” nor
was he re-scheduled.’ Additionally, the Memorandum notes that the MHC failed to notify other mental
health administrators of the patient-inmate’s status.

20
   Corizon informed DOI that, as of May 2015, licenses for all mental health staff are electronically
checked on a daily basis. While it would be unreasonable to expect that the daily licensing checks are
noted in each employee’s personnel file, Corizon should undoubtedly have some record in the employee’s
file demonstrating that his or her license was verified (for example, at the time of hire).
21
  NYSED regulates the licensure of various medical and non-medical professions in New York State,
including architecture, interior design, medicine, physical therapy, pharmacy, and dentistry.


                                                  11
the New York State Education Law. Moreover, in a potential malpractice claim made by an
inmate, the unlicensed practice of a profession may constitute prima facie evidence of
negligence, which leaves DOHMH and DOC exposed to possible liability.
        According to NYSED grievance papers found in one MHC’s file reviewed by DOI
investigators, NYSED had suspended the MHC’s social work licenses for three months because
he had intentionally failed to disclose any of his prior five criminal convictions, which ranged
from misdemeanor drug and larceny convictions to felony convictions for possession of stolen
property and a weapon, in each of his two social work license applications.22 Corizon ultimately
suspended the MHC for failing to notify Corizon that his social work licenses had been
suspended and that he “knowingly worked and treated patients without his [social work] license
to practice” over the course of five days.23
        D.      Corizon Failed to Document its Evaluations of MHC and MHTA Applicants,
                Resulting in the Hiring of Some Unqualified Clinical Staff.

       Corizon hiring officials also failed to document their evaluations of MHC and MHTA
applicants, calling into question the criteria used to evaluate these applicants and the bases for
which these individuals were hired. DOI’s review of the MHC and MHTA personnel files
revealed that Corizon’s evaluation of these candidates is mostly undocumented or poorly
documented.24
        As described in Section II above, Corizon interviewers document the first interview using
only a one-page Interview Sheet, which does not direct or allow space for the interviewer to
leave substantive information about the candidate. In fact, the Interview Sheet provides no
guidance at all as to what information the interviewers should seek to obtain from the candidate.
The only remark the document asks interviewers to make is a check next to a “Yes” or “No” as
to whether the interviewer would be “interested in offering a position to the… applicant.” Of the
185 files DOI investigators reviewed, only 12 contained an Interview Sheet with interview notes,
which were handwritten in the margins. In another 12 of the Interview Sheets included in the
personnel files, the interviewer did not check “Yes” or “No” in response to whether he or she
would be interested in hiring the candidate; on one of those Interview Sheets, the interviewer
wrote, “Maybe.” All 12 were subsequently hired without any documented explanation.


22
  The false filings occurred in 1999 and 2005. At the time of DOI’s investigation, the statute of
limitations on these putative crimes had already expired, precluding prosecution of the offenses.
23
  According to his own filings, the MHC disputed that he treated patients without a license as the
suspension of his license had yet to take effect during that span. During most of his suspension period,
the MHC was apparently on FMLA leave.
24
  Approximately eight of the personnel files reviewed did not even contain a job application, and six did
not contain a job application or resume. The absence of such critical hiring records indicates Corizon’s
poor record keeping, a complete failure to substantively evaluate a prospective employee, or both.
Corizon officials, in response to DOI’s findings, claimed that some of the missing records may have been
kept in other areas. However, DOI investigators were told by Corizon human resources staff, during the
investigation process, that all such information was centrally located in the employee personnel files.

                                                    12
         This shallow documentation sheds absolutely no light on how these employees were
evaluated and deemed fit for their jobs. Some candidates appeared to lack the necessary
education, training, or experience and were nonetheless hired. For example, one candidate, who
applied to become an MHTA, had a resume that included an objective that stated, “To obtain a
position of clerical assistant, data entry clerk, file clerk, medical records clerk, or mail room
clerk.” Indeed, her prior work experience included positions as a data entry clerk, an
administrative assistant and a customer service clerk at a drug store. She was interviewed 10
days after submitting her application for employment, but, according to the Interview Sheet in
her file, was not recommended for hire. Then, approximately two months later, with apparently
no material changes to her education, training, or experience, she returned for another MHTA
interview and was recommended for hire. Neither Interview Sheet found in her personnel file
documented the reasons for the candidate’s rejection or approval for hire.
        A second MHTA candidate whose file DOI reviewed similarly had virtually no relevant
experience. Although she had a Bachelor of Science in Criminal Justice, her prior work
experience included only jobs as a customer service associate at several office supply stores and
a toy store. She also listed a two-month internship at the Department of Juvenile Justice.
Despite not satisfying even the minimum requirements expected of an MHTA as described by
Corizon’s own job posting, this candidate was hired.
       Finally, 78 of the 185 files reviewed did not even contain an Interview Sheet or any other
record demonstrating that the candidate was in fact interviewed prior to being hired.


IV.     DOC Failed to Screen Corizon Employees and DOHMH Failed to Adequately
        Supervise Corizon’s Hiring Process.
        Despite provisions found in Corizon’s contract with DOHMH that call upon DOC to
assist Corizon in the screening of its clinical applicants, DOI’s investigation reveals that DOC,
by admission of its own hiring officials, has likely not conducted a single background
investigation on a Corizon applicant since at least 2011.25 DOC’s failure to perform any kind of
background investigation includes 1) receiving the fingerprint cards of Corizon applicants and
simply placing them atop a filing cabinet without forwarding them for a fingerprint-based
criminal history analysis and 2) failing to use DOC-exclusive databases to determine whether
prospective Corizon hires have any connection to DOC inmates that would subject them to
undue influence and thereby present a possible DOC security risk.
        Separately, as will be discussed in detail in Section IV(D) below, DOHMH failed to
adequately supervise the care provided by Corizon despite multiple red flags that such care was
deficient.




25
  The fact that the fingerprinting issue began in at least 2011, but was not identified until 2014, further
demonstrates the inability of DOC, DOHMH and Corizon to effectively communicate with each other.

                                                     13
        A.       DOC Was Responsible for the Criminal Background Investigations of
                 Corizon’s 1,100 Clinical Employees Staffed at DOC’s Facilities But Failed to
                 Do So.
        The issue of whether Corizon employees were being subject to fingerprint-based criminal
history screening was first brought to DOI’s attention in September 2014, when DOI
investigators arrested Jeffrey Taylor, a Corizon licensed practical nurse, on allegations that he
had received cash bribes from various inmates to smuggle alcohol and tobacco into his assigned
jail. Following Taylor’s arrest, DOC officials expressed concern that DOC had no ability to
conduct criminal background investigations on Corizon employees working in DOC’s facilities.
According to DOC officials, Corizon was solely responsible for conducting all background
screening of its employees.
        By contrast, around the same time, Corizon and DOHMH officials familiar with
Corizon’s hiring and background investigation processes informed DOI that DOC is responsible
for conducting criminal background investigations on all prospective Corizon employees
assigned to DOC facilities. Corizon, according to its hiring officials, merely obtains fingerprints
from its prospective employees, which are placed on eight-inch by eight-inch cards, and sends
them to DOC for an extensive criminal history check.26
        DOHMH and Corizon never followed up with DOC about the results of the criminal
background investigations, instead assuming that DOC was conducting them without issue. As a
result of this lack of oversight and communication between all three entities, no criminal
background checks were done.
        DOI reviewed Corizon’s contract with DOHMH and determined that DOC was, in fact,
responsible for processing the fingerprints of new Corizon employees. Specifically, Corizon’s
contract with DOHMH states that Corizon must “collect and submit to DOC for background
investigation, the fingerprints of all employees, subcontractors and employees of
subcontractors.” DOC, in turn, must “provide Corizon with the results of the DOC background
investigation.”27 The contract further states that Corizon “shall ensure that all prospective and
new employees and employees of its subcontractors are advised, in writing, that vital information
will be shared with both DOC and DOI for the purposes of background investigations, including
home and cell telephone numbers.”
        Given that relevant DOC staff seemed unaware of this obligation, in October 2014, DOI
requested that Corizon provide proof of mailing for the employee fingerprint cards sent to DOC
for the year to date. Corizon subsequently provided DOI with 16 FedEx receipts for parcels
containing fingerprint cards, which it sent to DOC between January 1, 2014 and October 31,


26
  A fingerprint-based criminal history investigation, conducted by the New York State Division of
Criminal Justice Services (DCJS), allows for a listing of any and all aliases, addresses, or dates of birth
reported during prior arrests. It also includes all prior city, state, or federal criminal convictions, the type
and degree of prior convictions, sentences imposed, terms of imprisonment and post-release supervision,
and the existence of any orders of protection.
27
  While the term “background investigation” is not defined in the DOHMH-Corizon contract,
representatives from DOHMH, Corizon, and DOC have separately informed DOI investigators that they
each believe the term “background investigation” to mean fingerprint-based criminal background
investigations.

                                                       14
2014.28 The receipts showed that Corizon addressed the FedEx parcels to then-DOC Deputy
Commissioner of Human Resources, Labor and Training Alan Vengersky. According to Corizon
officials, the fingerprint cards were sent to Vengersky because he was the designated liaison
between Corizon and DOC for background checks. Corizon continued to send fingerprint cards
to Vengersky even after June 2014, when Vengersky had retired. Corizon continued to direct the
fingerprint cards to Vengersky’s attention until October 2014, and only stopped when DOI
informed DOHMH and Corizon that Vengersky had retired, further demonstrating these entities’
inability to effectively communicate.
        When DOI investigators spoke to Vengersky’s administrative assistant at Vengersky’s
DOC office, she insisted that DOC was not responsible for conducting background checks on
Corizon employees. Vengersky’s administrative assistant further informed DOI investigators
that Corizon had never directed any requests for background checks to Vengersky. When DOI
investigators explained that the requests came in FedEx envelopes containing fingerprint cards
for prospective Corizon employees, Vengersky’s administrative assistant said, “Oh, you mean
those?” and pointed to a stack, nearly one-foot high, of FedEx envelopes atop a filing cabinet
located outside Vengersky’s office:




      Those envelopes contained 658 fingerprint cards for employees whom Corizon had hired
between 2011 and 2014.29 When asked to explain how the fingerprint cards came to be stacked

28
   Notably, Corizon informed DOI that it had 141 new hires between January 1, 2014 and October 31,
2014. Nonetheless, only 125 fingerprint cards (one fingerprint card per employee) were included in the
stack of cards DOI took.
29
   DOI investigators subsequently took the FedEx envelopes containing the fingerprint cards and reviewed
their contents. DOI cross-referenced the fingerprints cards with a list of Corizon employees hired since
January 1, 2014, in order to sample the contents and confirm that Corizon did in fact send fingerprint
cards to DOC for all of its new employees. DOI found that of Corizon’s 141 new hires since January 1,
2014, 25--or 17%--did not have a fingerprint card in the stack taken from DOC. The missing fingerprint

                                                  15
atop a filing cabinet, Vengersky’s administrative assistant said that Vengersky instructed her and
other staff to put them there after opening the envelopes and reviewing the contents. She
informed DOI that DOC did not conduct background checks on Corizon employees and, since
neither Vengersky nor his staff knew what to do with the fingerprint cards, they simply left them
stacked on the filing cabinet. The administrative assistant further stated that neither Vengersky
nor any of his staff ever contacted Corizon to inquire why it was sending these fingerprint cards.
Additionally, neither Vengersky nor any of his staff returned the fingerprint cards to Corizon.
Vengersky’s assistant said that this practice of opening the envelopes and stacking them had
begun in approximately 2011. 30 She did not know what retention procedure existed for the
fingerprint cards prior to 2011.31
        Further conversations with Corizon and DOHMH officials revealed that in 2007,
Corizon, “out of concern,”32 informed DOHMH that although Corizon had been collecting
fingerprints for new employees since it first contracted with DOHMH in 2001, it had not sent
them for processing. According to Corizon officials, the company had “no clear direction”33 as to
where the fingerprints should be sent. Apparently, this lack of “clear direction” created an
accumulation of unprocessed fingerprints for 937 employees. In order to clear this backlog,
DOHMH and DOC signed a Memorandum of Understanding (MOU) pursuant to which
DOHMH paid DOC a lump sum of $70,275 to cover the cost of processing the prints with DCJS
for the then-current employees.
        To prevent future backlogs and to ensure that future Corizon employees would be subject
to a fingerprint-based criminal history check, the MOU stated that Corizon34 would obtain
fingerprints from its staff members and forward those fingerprints, along with a $75.00 money
order from each staff member, to DOC for the purpose of conducting a background investigation.
The MOU further called for DOC to notify Corizon “in writing of the results of such




cards indicate that either Corizon never sent DOC those 25 employees’ fingerprint cards or that
Vengersky and his staff misplaced or inadvertently destroyed the cards.
30
   Vengersky, who was also the subject of criticism in DOI’s January 2015 report on DOC’s flawed
application process for newly hired COs, informed DOI investigators that, to the best of his knowledge,
DOC did not conduct criminal background checks on Corizon employees. He further stated that he did
not remember receiving fingerprint cards for Corizon employees, nor did he recall instructing his
administrative assistant to stack the cards on a filing cabinet.
31
   We include the statements of Vengersky’s assistant solely to document certain historical past practices.
Clearly, the assistant is not in a position to speak for DOC on policy issues, and her statements are not
included for that reason. Under current efforts to fingerprint all Corizon employees, DOC is proceeding
with electronic fingerprint captures, and is not retaining fingerprints of prospective or existing Corizon
staff. Rather, DOC is directly sending such fingerprints electronically to DCJS.
32
     Email to DOI from Vice President of Operations, Corizon Health Rikers.
33
     Email to DOI from Vice President of Operations, Corizon Health Rikers.
34
     Corizon was then known as “Prison Health Services.”


                                                    16
investigations within five days of receipt of the same.”35 The MOU was signed in March 2008,
and DOHMH remitted payment to DOC to process the backlog of fingerprints in July 2008.
        It is therefore unclear why, after DOC and DOHMH signed this MOU and processed a
nearly seven-year backlog of fingerprints in July 2008, DOC subsequently stopped processing
Corizon employee fingerprints. Despite multiple attempts to determine how Vengersky was
designated as the DOC liaison for Corizon fingerprint processing and exactly when and how the
process outlined in the MOU failed, DOI investigators failed to get a clear answer from DOC,
DOHMH, or Corizon officials. Based on the fingerprint cards DOI found outside Vengersky’s
former DOC office in October 2014, Corizon presumably sent at least some prints for new hires.
Given that Vengersky’s administrative assistant remembered receiving—but not processing—the
fingerprints since 2011, the most recent process failure dates back at least four years—to 2011—
and possibly as far back as July 2008, after the initial 2001 to 2008 accumulation of unprocessed
fingerprints was addressed.36
        Since the enactment of this MOU, which had no termination date, in 2008, Corizon has
fingerprinted new employees and sent their fingerprints to DOC for processing. Corizon
officials informed DOI investigators that DOC has never notified Corizon with the results of any
background investigation on any prospective hire. Conversely, Corizon has never requested the
results of any background investigation on its new employees or otherwise sought to obtain a
new employee’s criminal history summary from DOC.37
       B.      DOC Has Only in the Last Month Begun to Obtain and Process Corizon
               Employees’ Fingerprints, Despite the Fact that DOI Alerted DOC Officials in
               October 2014 That Fingerprinting Needed to Be Done Immediately.
        On October 31, 2014, DOI alerted Commissioner Ponte and other DOC officials that
DOC had not conducted fingerprint-based criminal background investigations on any of
Corizon’s current employees as contractually required. DOC officials assured DOI that it would
be an institutional “priority” to complete these investigations as soon as possible. However, only
on February 18, 2015, nearly four months after DOI first notified DOC of this security oversight,
did DOC officials begin fingerprinting Corizon employees using the traditional ink
fingerprinting method. By March 5, 2015, DOC had only printed 127 of approximately 1,100
Corizon employees using the ink fingerprinting method.
         However, DCJS stopped accepting inked fingerprint card submissions in January 2010.
In fact, DCJS notified DOC in an interagency memorandum dated August 31, 2009 that in
January 2010, it would begin accepting only electronic fingerprint submissions.

35
   DOHMH, DOC Intra City Agreement Section III(C), July 1, 2007.
36
   DOI’s investigation revealed that the newly hired Corizon employees did pay the required $75,
although their fingerprints were never processed. The employees paid the money to Corizon, which
forwarded it onto DOHMH in the form of a credit. DOHMH officials informed DOI that they expected to
be billed by DOC for the cost associated with processing the fingerprints, but they never were. DOHMH
officials further stated that they did not follow up with DOC to find out why DOC had not requested
payment.
37
  Corizon officials told DOI that they assumed DOC would notify them if there was a problem with an
employee’s criminal background check.

                                                 17
        Nevertheless, relevant DOC officials appeared unaware of this when they started using
inked cards in 2015. (This fact also rendered pointless and moot Corizon’s collection of the cards
for the past four years.) While DOC has been aware of the fingerprinting oversight since October
2014, the agency only began properly submitting the 1,100 Corizon employee fingerprints for
screening during the week of May 18, 2015.
        With respect to the fingerprinting issue, DOC has acknowledged that certain officials did
not properly perform their duty in ensuring that background checks for Corizon staff were
properly conducted. The agency is performing its own review into the lapses in judgment and
process to determine how it can prevent such errors, and ensure that the responsibilities are not
isolated to a single individual, even at the Deputy Commissioner level.38 Current DOC
leadership is aware of its responsibilities in this area, and has now begun the process.
        C.      DOC Failed to Use Databases to Which It Has Exclusive Access to Conduct
                Additional Security Screening on Prospective Corizon Employees and So Did
                Not Learn of Multiple Suspicious Calls to Such Prospective Employees by
                Inmates.
        DOC has also failed to use databases to which only it has access, to further screen
Corizon applicants for inmate contacts that would make the applicants susceptible to inmate
manipulation. Even though Corizon has sent DOC the personal telephone numbers of its
applicants, DOI has learned that DOC does nothing to screen those telephone numbers through
its databases for inappropriate inmate contact. Furthermore, DOC does not screen Corizon
applicants for inmate contacts through its visitation databases, to which, again, only DOC has
access. Such checks would have revealed that roughly 10% of applicants had suspicious
contacts with inmates at around the time of hiring.
        DOC exclusively maintains the Inmate Financial Commissary Management System
(IFCOM), a telephone monitoring system that tracks and records inmate telephone calls.39 At
present, DOC does not subject Corizon candidates to IFCOM screening prior to employment
despite the fact that Corizon and DOC officials both acknowledge that Corizon periodically
provides its applicants’ personal telephone numbers to DOC for background investigations.40
Again, however, DOC and Corizon do not appear to have communicated about this process or
the results. Had they done so, they would have realized that these phone checks were not being
completed.
       DOI investigators have now conducted IFCOM checks of the home and cellular
telephone numbers listed by MHTAs in their respective employment applications. Of the 48

38
   In May 2015, DOC terminated the incumbent Deputy Commissioner of Strategic Planning and
Programs, who was responsible for overseeing the criminal background check process for Corizon
employees.
39
   Inmates are warned by posted signs and recordings before the call that the contents of their
conversations are being recorded.
40
  As discussed in Section IV(A) on page 20, the contract states that Corizon “shall ensure that all
prospective and new employees and employees of its subcontractors are advised, in writing, that vital
information will be shared with both DOC and DOI for the purposes of background investigations,
including home and cell telephone numbers.”

                                                   18
MHTAs whose telephone numbers were screened through the IFCOM database, DOI
investigators believe inmates contacted the personal telephones of approximately four MHTAs
after they began working at Corizon and, therefore, while had access to DOC facilities.
        One inmate contacted the home telephone of an MHTA three times approximately three
months after the MHTA started working at a DOC facility, with each of those calls lasting
between nearly five minutes and 15 minutes. An IFCOM database check on a second MHTA
revealed that possibly two different inmates contacted the MHTA’s cellular telephone a total of
approximately 25 times, with seven of those calls lasting between approximately three minutes
and 15 minutes. In another case, an inmate contacted, on six occasions, the home telephone of
an MHTA assigned to the same facility in which the inmate was housed; each of those calls
lasted between four minutes and 10 minutes. While DOI investigators have not been able to
confirm the relationship between this inmate and MHTA, it is worth noting that the two share the
same last name.
       Additionally, of the 137 MHCs whose telephone numbers were screened through the
IFCOM database, DOI investigators believe inmates contacted the personal telephones of
approximately 12 MHCs after they began working at Corizon and, therefore, while had access to
DOC facilities.
        Further, Corizon candidates are also not subject to any DOC visitation checks, as are
commonly done through DOC’s Visitor Express database, to determine if they have recently
visited an inmate. DOI investigators screened the 48 MHTAs’ names through DOC’s Visitor
Express database and found that one MHTA had made two visits to Rikers Island. Additionally,
DOI investigators found that one MHC made five visits to Rikers Island, to visit two different
inmates. A second MHC made one visit to Rikers Island.


       D.      DOHMH Also Failed to Adequately Oversee Corizon’s Employee Screening.
         Although Corizon is responsible for hiring the clinical staff who work in DOC’s
facilities, DOHMH contractually has oversight of Corizon’s performance in its administration of
care. Under the DOHMH-Corizon contract, DOHMH annually evaluates Corizon’s performance
based on 40 performance indicators (PIs). Notably, sixteen of the 40 PIs address issues of
timeliness, such as requiring inmates referred to mental health to be seen within 72 hours of the
referral or inmates requesting a dental exam to be seen within 21 days of the initial request.
Except for 10 senior positions listed in the Corizon-DOHMH contract, DOHMH, according to its
own officials, exercises virtually no oversight over Corizon’s hiring of mental health staff,
instead leaving Corizon unsupervised. 41
        Further, DOHMH does not oversee or assist in Corizon’s annual performance evaluations
of clinical staff. DOHMH appears to assume that Corizon is evaluating its own staff to ensure

41
  The current DOHMH-Corizon contract, under Section XI(A), allows for DOHMH to “reserve the right
to approve the hiring of certain high-level medical and mental health directors,” including “Program
Director… Regional Medical Director… Deputy Medical Director… Director of Dentistry… Mental
Health Director… Regional Director of Nursing, Site Health Service Administrators, Site Mental Health
Unit Chiefs/Mental Health Managers, Site Medical Directors and Site Directors of Nursing.”


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quality of care once hired, but DOI’s review of the MHTA and MHC personnel files showed that
yearly staff evaluations appear irregular at best. Out of the 134 employees who have worked at
Corizon for over one year, only 8 had performance reviews in their files covering each year of
their service at Corizon.42 The Corizon performance review explicitly states that it must be
completed within 30 days of the employee’s yearly anniversary. Nonetheless, the vast majority
of employees are missing at least one annual evaluation.43
       DOHMH failed to ever review these files or take proper steps to ensure appropriate
supervision and reviews were completed.
        DOHMH officials, in response to this Report, informed DOI that they were aware of
Corizon’s failure to consistently evaluate staff, and that the issue factored into a downgrade of
Corizon’s performance rating issued in the City’s VENDEX system. Specifically, DOHMH
officials pointed to language in their 2014 VENDEX evaluation of Corizon, which states,
“Another area that remains subpar is implementing standardized performance evaluation for the
staff.”
        DOI finds DOHMH’s response problematic for several reasons. First, statements in
VENDEX are not relevant to the issue here, as they do not substantively address problems with
an existing contract – they merely prevent others from using that contractor. If DOHMH believes
that the way to deal with a failing contractor is by simply noting a concern in VENDEX, then
agency staff do not understand the way in which city procurement is managed. Second, DOHMH
informed DOI that the issue of inconsistent staff evaluation factored into the downgrade of
Corizon’s performance rating. In fact, Corizon’s performance rating in VENDEX did not change
from 2013 to 2014. In both years, DOHMH gave Corizon overall performance ratings of
“Fair.”44 DOHMH did downgrade Corizon’s performance rating from 2012 to 2013, from
“Good” to “Fair,” respectively. However, when testifying before City Council in March 2015,
DOHMH Deputy Commissioner Dr. Homer Venters noted that, in 2014, Corizon “improved
dramatically” in the areas that lead to the 2013 downgrade. Despite Venters’s remarks, however,
DOHMH gave Corizon a “Fair” overall performance rating on its 2014 VENDEX evaluation.
       DOHMH officials further noted – also in response to DOI’s findings of inadequate
supervision -- that the agency holds numerous meetings (weekly, monthly and quarterly) with
Corizon staff to address issues related to patient care. DOHMH provided minutes from those
meetings, which, although silent on the issue of hiring Corizon staff, show that Corizon and
DOHMH officials regularly discuss patient care, areas of concern, and problems with DOC staff,


42
  Approximately 51 current MHTAs and MHCs have been employed for less than a year, and therefore
have not received an annual performance evaluation.
43
  DOHMH and Corizon stated that, within the past two months, Corizon has put new HR procedures in
place that DOHMH claims will remedy some of these issues. Further, Corizon officials, in response to
this investigation’s findings, informed DOI that employees’ performance evaluations may not have been
kept in their personnel files. This information, however, conflicts with what DOI investigators were told
by Corizon human resources staff.
44
  Contractors are rated in VENDEX on a 1-5 scale: Unsatisfactory (1); Poor (2); Fair (3); Good (4);
Excellent (5).

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among other things. However, as the results of this investigation demonstrate, that supervision
was not adequate with respect to hiring and supervision of staff. 45
        Finally, DOHMH officials also informed DOI that, in response to Bradley Ballard’s death
in 2013, the agency and Corizon have taken numerous corrective actions to ensure that the
failures that contributed to his death do not reoccur. Specifically, DOHMH has begun rolling out
PACE units, which provide enhanced therapeutic programming for mentally ill inmates. One of
the PACE units is designated for inmates who, like Ballard, are identified as decompensating.
V.      Corizon’s Failure to Screen and Supervise Staff, and DOHMH and DOC’s Failure
        to Adequately Supervise Corizon, Cannot Be Disassociated from the Illegal Activity
        and Inmate Deaths and Injuries That Have Occurred.
        Given the multitude of factors that contribute to delivering medical and mental health
care in a correctional setting, it is virtually impossible to draw a direct correlation between hiring
and inadequate care. However, the cumulative effect of Corizon, DOHMH, and DOC’s
combined failures to properly screen and supervise Corizon’s employees has been significant.
Of the 185 MHC and MHTA personnel files DOI reviewed, approximately 34 contained
documented instances of employee discipline. While many of these employees were disciplined
for excessive tardiness or abuse of sick leave, which signal concerns about their professionalism,
some involved a disturbing neglect of inmate care. DOI surveillance of Corizon staff confirms
these problems.
        A.      Recent DOI Investigations of Illegal and Improper Activity by Corizon Staff
       DOI has conducted a number of investigations into the conduct of Corizon employees,
some of which have already resulted in arrests. Further investigations are continuing. Several
cases worth noting are discussed below.
         Among other tasks, MHCs are required to complete daily rounds in Mental Observation
housing areas, which requires them to look into inmate cells to ensure the inmates do not require
immediate attention. In one instance, the MHC’s failure to do so had widely publicized results.
One of the cells that the MHC failed to inspect housed a diabetic, schizophrenic inmate who had
tied a ligature around his genitals, smeared feces in his cell, and was in need of urgent medical
attention. That inmate, Bradley Ballard, ultimately died, according to the coroner’s report, from
diabetic ketoacidosis with a contributing factor of genital ischemia.46 The Bronx County District


45
  DOHMH officials still further noted—again in response to DOI’s findings of inadequate supervision—
that the agency does maintain a patient relations unit that investigates patient complaints regarding
delivery of health care. However, it is unclear how inmates could be expected to know about systemic
problems related to the hiring of Corizon staff, such as a lack fingerprinting and criminal background
checks. Moreover, no properly regulated jail system should rely upon incarcerated mental health patients
to self-report problems regarding their care.
46
  As noted in Section IV(D) above, DOHMH downgraded Corizon’s VENDEX performance rating in
2013, following Ballard’s death. However, DOHMH inexplicably glossed over Ballard’s death when
providing comments on Corizon’s overall performance, noting only that one of the “discrete areas of sub-
par performance during this reporting period included … inconsistent care in several mental observation
units.”

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Attorney’s Office and DOI are currently investigating the circumstances surrounding Ballard’s
death.
      DOI investigations, along with further file review, demonstrate multiple additional
examples of Corizon staff failing to provide proper care or otherwise engaging in illegal conduct.
The most significant examples are below:
        In another instance, an MHC removed an inmate from a court-ordered suicide watch
without consulting a psychiatrist, in violation of DOHMH policy. According to records
contained in the MHC’s personnel file, the inmate, a 17-year-old adolescent, had been referred
for an “assessment of suicidal ideation.” The MHC subsequently interviewed the inmate,
determined that he was not a suicide risk, and attempted to move the inmate into a general
population housing area without consulting a supervisor or psychiatrist. The MHC, despite
learning that the inmate was on court-ordered suicide watch from COs assigned to the inmate’s
housing area, informed his clinical supervisor that the inmate did not need to be on suicide
watch. The MHC then had the inmate removed from suicide watch. Later that day, DOC
generated a new mental health referral for the inmate because he was “being depressed.” Despite
the referral, COs in the inmate’s housing area sent the inmate back to his cell; no mental health
employee conducted a follow-up assessment with the inmate, who was found the next morning
hanging in his cell. He died 10 days later, as a result of his injuries.
        During the course of DOI’s file review, investigators noted other instances of
malfeasance by MHCs that was unacceptable under any circumstance and could have exposed
DOHMH and DOC to liability had they resulted in an inmate injury or death. In one instance, an
MHC, whose personnel file does not contain an employment application let alone an interview
sheet, interview notes, or reference verifications, allowed DOC to transfer an inmate-patient on
suicide watch without continuing that watch. That same MHC had been suspended a total of
approximately 14 days for excessive lateness and sick leave abuse.
       Yet another MHC faced disciplinary action for copying and pasting inmate-patient notes,
on four occasions, from reports she had previously written as well as from reports written by
other MHCs.
        DOI has also investigated multiple allegations of wrongdoing by Corizon clinicians.
Several of these allegations have resulted in arrest or termination of the employees. As noted, in
September 2014, for example, DOI investigators arrested a Corizon nurse, Jeffrey Taylor, on a
28-count felony bribe-receiving indictment filed by the Bronx District Attorney’s Office on
allegations that he smuggled tobacco and alcohol to inmates in his facility.
        Also in September 2014, DOI substantiated allegations that an MHTA had smuggled
tobacco and alcohol to seriously mentally ill inmates with disciplinary issues. DOC video
surveillance corroborated the MHTA’s misconduct, which ultimately led to his termination.
        More recently, in early May 2015, DOI investigators arrested an MHC after he smuggled
three packages of tobacco and synthetic marijuana secreted inside a lotion bottle. One week
later, DOI arrested another Corizon employee for smuggling a straight edge razor into a facility
on Rikers Island. Fingerprinting of this last employee at that time revealed a 13-year prison term
for kidnapping.



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       B.      DOI Investigators’ Surveillance of Corizon Staff’s Care for Inmates in
               Mental Health Housing Areas.
        In order to determine how effectively inmates with mental health diagnoses are being
treated by both DOC and Corizon staff, DOI investigators conducted a series of site visits to 28
of the 30 housing areas reserved for those M-designated inmates.47 DOC has several different
types of mental health housing areas, each reserved for inmates with different needs and
disciplinary histories. As such, the anecdotal evidence DOI investigators received from DOC
and Corizon staff varied, at times significantly, from housing area to housing area. Nonetheless,
investigators made several observations related to medication compliance and mental health
treatment sessions.
               i.      Medication Compliance – Site Visits
        DOI investigators observed the distribution of medication in two different Mental
Observation (MO) housing areas. Although the inmates housing in the MO units are M-
designated, not all of the medication dispensed was for psychiatric purposes. This method of
distribution is used for the majority of medication, from psychotropic drugs to lotions and
vitamin supplements, dispensed to inmates.
       The Corizon pharmacist, wheeling a large cart with compartments for various
medications, was escorted to the housing area by a CO. The pharmacist wheeled the cart into the
housing area’s control room (i.e., a central, enclosed room from which a CO can see the housing
area and electronically control cell doors and the doors to the housing area). The inmates who
were prescribed medication, and wanted to take it, lined up inside the housing area in front of a
small window allowing for items to be passed from the control room to the housing area.
        In the control room, the pharmacist said that as the inmates approached the window one
by one, he verified their identities by asking them to present their inmate identification cards
(rectangular paper cards that contain an inmate’s photo, name, and inmate number). He then
cross-referenced the inmate’s name with his pharmacy medication distribution list (a list of the
inmates and the medication each one receives), and passed the medication in the appropriate
dosages to the inmate. The pharmacist said that if an inmate accepted his medication, he noted
that on the medication distribution list. Likewise, the pharmacist noted if an inmate did not show
up to the window to receive his medication or refused part of his prescribed medications.
       The inmates who accepted their medications immediately walked five to 10 feet away
from the pharmacy window, where a DOC escort officer waited with a jug of water or juice,
cups, and a trash can. Most inmates poured themselves a small cup of liquid, appeared to
swallow their medication, and threw the empty cup in the trash can.
        As soon as one inmate stepped away from the window, the pharmacist turned his
attention to the next inmate in line. For the length of the medication distributions observed by
DOI, the DOC escort officer carried on conversations with other COs in the housing area.
Neither the Corizon pharmacist, the DOC escort officer nor the COs assigned to the housing area


47
  DOHMH classifies inmates that have been admitted to Mental Health Services (MHS) as “M-
designated.” DOHMH informed DOI that if an inmate is not M-designated at intake, he will become M-
designated after he receives mental health treatment three times.

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actually watched the inmates put the medication into their mouths, or conducted any kind of
mouth check to determine if the pills had been swallowed.
       According to DOHMH policy # PH 16, medication designated for “immediate use,” such
as psychotropic drugs and vitamin supplements, must be taken by the inmate when provided by
the pharmacist, and a CO “will ask patients to speak after taking their medication and/or perform
a mouth check for security reasons.”48 The policy goes on to state that pharmacy staff are to
“document this conversation in the pharmacy log book,” and that patients who do not comply
should be reported to medical or mental health staff.
       At no time did DOI investigators witness a CO ask an inmate to verbally or physically
confirm that he took his medication. Nor did DOI investigators witness any verbal exchange
between the Corizon pharmacist and any CO while medication was being distributed.
        DOI investigators asked both the pharmacist and the DOC escort officer, who was in
charge of distributing the water, if they monitored whether the inmates actually swallow their
medications. The pharmacist stated that he marks on his list whether the inmates accepts or
refuses his medication and that the CO watches to see whether the inmate takes it. The CO
stated that the other COs assigned to the housing area note how many inmates line up at the
pharmacy window to receive medication, and that the pharmacist tracks whether the inmate
accepts his medication. In sum, the staff from Corizon and DOC each believe the responsibility
has been delegated to the other. The result, during the shifts watched by DOI, was that no one
actually checked to see if inmates with diagnosed mental health disorders had taken vital
medication.


                ii.     Mental Health Treatment Sessions
        In addition to observing the medication distribution process during site visits to mental
health housing areas, DOI investigators also observed several mental health treatment sessions
that took place in different MO housing units.
        In general, DOI investigators were struck by the short length of time for both the mental
health sessions and the medication appointments. In one housing area, DOI observed an MHC
arrive in the housing area and begin calling inmates for one-on-one appointments. DOI
investigators timed the length of one of the MHC’s sessions with an inmate. It lasted
approximately three minutes.49
        DOI investigators approached the MHC and asked her for details on her role and the
purpose of her sessions with the inmates. She stated that she was in the housing area conducting
TPRs, or Treatment Plan Reviews, which she described as individual meetings with inmates used
to evaluate their progress. On average, she said, she is assigned to see 12 inmates in a day.

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   The policy notes that while the act of speaking “does not guarantee that the medication has been taken,
it is a mechanism to deter hoarding of medication.”
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   DOI offers no opinion on the therapeutic value of this or any other treatment session. Indeed, DOI
discussed its observations with the Director of Correction-Based Operations for the NY State OMH. He
stated that, in the state system, sessions with a therapist can be as short as five minutes, if the inmate
wants nothing to do with mental health, or they can last as long as 35-40 minutes.

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When asked if her sessions are generally as brief as those observed by DOI, the MHC said that
the length of an appointment varies by inmate. She said that she was familiar with the two
inmates she had already seen and neither usually like to talk for an extended period of time. She
said that for other inmates the sessions could last 15 to 25 minutes. Subsequently, after becoming
aware of DOI’s observation, the MHC called over another inmate for a one-on-one session. The
session lasted 22 minutes.


VI.    Based on its Findings, DOI Recommends a Series of Reforms to the Provision of
       Health and Mental Health Services at DOC Facilities.

        As noted above, DOI has significant concerns about Corizon continuing to serve as a
health care provider in New York City’s jails. Additionally, DOI has concerns that the lack of
effective communication between Corizon, DOC and DOHMH, and the frequency with which
these entities blame one another for the failings of all, present a significant roadblock to effective
solutions going forward. Regardless, whatever entity is responsible for providing healthcare
going forward must make changes to the staff screening and supervisory process. Further, DOC
must also become involved in the provider’s applicant screening as it is responsible for the safety
and security of its own facilities. Therefore, DOI makes the following recommendations to DOC,
DOHMH, and whatever direct provider is chosen, to improve the candidate screening process,
and, if needed, to monitor new hires.
       A.      Any Future Health Care Provider Must Employ Stricter Professional and
               Character Standards When Assessing its Applicants and Conduct Follow-up
               Investigations Into Disclosures or Allegations That Call an Applicant’s
               Judgment and Character Into Question.
        As described in this report, Corizon hiring officials knowingly hired several MHCs and
MHTAs with alarming character concerns. Given the sensitive and demanding nature of the
work undertaken by medical and mental health professionals in DOC facilities and the corruption
vulnerabilities they often face via frequent inmate contact, a health care provider must exercise
stricter professional and character standards with which to assess its applicants. DOI
recommends that such provider implement a list of disqualifying criteria with the Correction
Officer Notice of Employment serving as a starting point:
         “Proof of good character and satisfactory background will be absolute prerequisites to
appointment. The following are among the factors which would ordinarily be cause for
disqualification: (a) conviction of a felony; (b) conviction of any offense, the nature of which
indicates lack of good moral character or disposition towards violence or disorder; (c) repeated
convictions of an offense, where such convictions indicate a disrespect for the law; (d) discharge
from employment, where such discharge indicates poor behavior or inability to adjust to
discipline; (e) dishonorable discharge from the Armed Forces; (f) conviction for petit larceny and
(g) conviction for domestic violence.”




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       B.      Any Health Care Provider, DOHMH, and DOC Must Work Jointly to Make
               its Clinical Staff Screening Uniform, Thorough, and Tailored to the Unique
               Corruption Vulnerabilities at DOC. The Provider Must Document its
               Personnel Decisions.
        DOI’s investigation revealed that DOC and Corizon essentially act as two separate
entities in the screening of Corizon’s clinical staff candidates. For several years, Corizon
mistakenly assumed DOC was conducting criminal background investigations while DOC
mistakenly believed Corizon was doing so. DOHMH also assumed these checks were being
done, without conducting any significant follow-up. Any direct provider and DOC must begin
working collaboratively to screen Corizon’s clinical staff applicants. While it is beyond DOI’s
purview and mission to discuss such policy decisions, the City must consider whether it is
effective to have three entities involved, under the present structure, in inmate healthcare, rather
than a provider that contracts directly with DOC. If the City determines to keep DOHMH’s
present role, then clear lines of authority and responsibility must be set forth in writing.
      To improve the application process, DOI makes the following recommendations which
DOC, after consultation with DOI, has agreed to:
                   1. DOI recommends that any future health care provider, DOHMH, and
                      DOC form a joint hiring committee consisting of one official from each
                      agency and hold regularly scheduled meetings to discuss and review the
                      hiring of clinical staff. During these meetings, the direct provider,
                      DOHMH, and DOC officials should share their findings regarding the
                      proposed candidate and reach a joint decision as to whether the candidate
                      should be hired before finalizing any offer of employment. Such process
                      must be documented.
                   2. DOC must immediately fingerprint all health care employees and submit
                      those fingerprints for analysis as part of a comprehensive criminal
                      background investigation.
                   3. The direct provider’s employment application must require candidates to
                      disclose all prior convictions as well as arrests with a detailed description
                      provided by the candidate regarding the circumstances involving each
                      conviction or arrest. The application must also request candidates to
                      disclose whether they have previously been disciplined at work or
                      terminated or asked to resign from a job. If so, the candidate must
                      describe in detail the circumstances surrounding such discipline,
                      termination, or resignation.
                   4. The direct provider’s hiring officials must contact candidate references
                      and verify prior employment. The focus of such investigations is not
                      merely to confirm whether a candidate was previously employed with the
                      stated employer, but also to ascertain his or her work habits, attitude,
                      competence, and professionalism displayed at prior jobs.
                   5. The direct provider and DOC must work in conjunction to conduct
                      investigations into applicant disclosures of past misconduct, which should
                      include an interview of the applicant seeking explanation for such
                      disclosures and public records searches to obtain additional information
                      into the misconduct.

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                   6. The direct provider must use a standard detailed checklist that identifies
                      all documents that it requires applicants to submit, including but not
                      limited to copies of references, diplomas, professional licenses, and
                      license verifications, and work cooperatively with DOC to ensure that all
                      investigative steps necessary to complete a background investigation have
                      been undertaken.
                   7. DOC should ensure that all prospective health care employees are subject
                      to IFCOM and Visitor Express checks to determine whether inmate
                      contacts exist. Specifically, not only should DOC investigators check
                      IFCOM databases for applicant telephone contact with inmates, but
                      investigators must also listen to the recorded telephone calls between the
                      inmate and the applicant. The identification of an applicant’s phone
                      number in the inmate database is concerning, and only a review of the
                      content of these calls will allow DOC to determine the extent of the
                      relationship and whether it should disqualify the candidate.
                   8. DOC must work with the direct provider to ensure that the personal
                      telephone numbers of clinical employees are regularly monitored in
                      DOC’s IFCOM database for inmate contact in order to discover those
                      employees who might be having inappropriate inmate relationships and
                      eliminate the potential security risk posed by such relationships.
                   9. Hiring decisions by interviewers and supervising officials must be
                      documented.       Interviews of candidates should be directed by a
                      questionnaire that focuses on the applicant’s competence, prior training
                      and experience, and fitness and ability to work in a correctional setting.
                      The interviewer(s) must document the candidate’s answers to these
                      questions.

       C.      Whatever Direct Health Care Provider is Chosen Must Monitor its Health
               Professionals for Licensing Compliance on a Daily Basis.
        Based on the findings discussed above, DOI recommends that whatever provider is
chosen begin routine licensing compliance checks of its medical as well as mental health staff to
confirm that 1) that prospective employees are properly licensed and 2) any existing clinical staff
requiring professional licensure maintain good standing with NYSED.
VII.   Conclusion
        Corizon has failed to either screen or properly supervise its employees. Further, Corizon
staff have, on several occasions, provided inadequate care—sometimes seriously so—and have
engaged in other illegal activity. For these reasons, we have significant concerns about
Corizon’s suitability as a contractor to provide healthcare services to the City’s jails.
        Further, both DOC and DOHMH have failed to properly supervise Corizon despite their
clear obligation to do so. More troubling, a lack of effective communication between all three
entities has resulted in a broken system, where necessary background screening for over 1,100
employees working in the City’s jails was not done. Regardless of the healthcare provider that is
selected to succeed Corizon, strict rules for DOC and DOHMH’s roles must be set out to ensure
proper supervision. DOI will continue to monitor these issues.

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